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11
12                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
13
14   CALIFORNIA HOMELESS UNION, et al.,          ) Case No.:
                                                 )
15                                               ) DECLARATION OF KENT EATON IN
                   Plaintiffs,
                                                 ) SUPPORT OF PLAINTIFFS’
16
            vs.                                  ) APPLICATION FOR TEMPORARY
17                                               ) RESTRAINING ORDER AND
                                                 ) PRELIMINARY INJUNCTION
18                                               )
     CITY OF FREMONT,
                                                 )
19
                   Defendant                     )
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     Declaration of Kent Eaton
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 1   I, Kent Eaton, hereby declare:
 2            1.   This declaration is based on my personal knowledge and if called upon as a
 3   witness in court, I could testify to the truth of the following.
 4            2.   I am homeless and live on the slab under Washington Bridge in the City of
 5   Fremont in Alameda County. It is called the slab because there used to be a storage company
 6   that had many storage units on this land. The building was torn down and now all that is left is
 7   the long concrete foundation slab. There is always at least 14-15 unhoused people living on the
8    slab sometimes more.
 9            3.   I have been unhoused in the City of Fremont for approximately twenty-two years.
10            4.   I receive approximately $336 from general assistance each month. I receive
11   approximately $335 in Calfresh for food.
12            5.   I used to have three tents that I lived in all bunched together under the bridge but
13   around three years ago I came home to find that all three tents had been disposed of by the City
14   of Fremont.
15            6.   Presently, I only live in one tent with a tarp cover that protects me from the
16   elements.
17            7.   I rely on the various groups who bring food and water to the slab because my
18   CalFresh does not go far since I do not have a way to store or refrigerate food. I need extra food
19   and water otherwise I would go hungry for part of the month.
20            8.    Almost all the people or volunteers that bring food to me and other homeless
21   residents at the slab are from churches. I see many types of volunteers from the various
22   churches. I have seen groups of young kids to older people come out to serve us. We have at
23   least four groups that consistently bring us food and water every week. Sometimes there is a
24   gentleman that will bring us BBQ as well.
25            9.   During extreme weather such as heavy rain or during extreme heat, these church
26   groups and/or volunteers will bring us more stuff like hot pizza, doughnuts, bread and more
27   water.
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 1          10.    I have not seen or met anyone from the County of Alameda or the City of Fremont
 2   who brought us food, water or resources. No one from the County of Alameda or the City of
 3   Fremont has come out to check on us or offer us services on the slab.
 4          11.    The City of Fremont does provide a porta potty on the slab and each homeless
 5   person gets an individual trash can. The City of Fremont picks up the trash three times a week.
 6          12.    I read in the San Francisco Chronicle that the City of Fremont passed a new
 7   ordinance making it illegal for people to be homeless in Fremont.
8           13.    I read that it is now illegal to sleep in a tent like I do in Fremont.
 9          14.    I am scared because I sleep in a tent. Once the ordinance passes, I will have
10   nowhere legal to go. It will be illegal for me to have a blanket and a sleeping bag. It will be illegal
11   for me to have a tarp like the one that covers my tent that protects me from the rain. I am scared
12   that I will be arrested.
13          15.    If I cannot have a tent, tarp, sleeping bag or blanket I will have to sleep on the
14   ground and be exposed to the elements. I am scared that I will freeze or something worse could
15   happen to me. Everything I rely on to survive is illegal in the City of Fremont.
16          16.    I am scared that when the ordinance passes that I will go hungry. I read that it will
17   be illegal for the churches to come to the slab to bring us supplies and food. I rely on the food
18   that is brought to my camp for at least half of the month. I would be hungry, and I wouldn’t eat.
19   I would not be able to stay warm and I would not have access to my survival gear. I also would
20   not have any water to drink. I cannot carry water longs distances, and I will get dehydrated.
21          17.    It is too hard to go out and find things like survival gear. Thrift town, a
22   secondhand store is down the street, but I cannot carry stuff like survival gear down to the slab.
23   Everything is so expensive even stuff at the thrift store. I don’t have the money to buy more
24   things. Food and water are very expensive.
25          18.    I am very scared about what will happen to me and how I will survive once the
26   ordinance passes. I cannot be homeless anywhere in Fremont and the volunteers are not
27   allowed to help me. I cannot afford rent because I only get $336 a month. No one has talked to
28   me about housing or shelter.


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 1         19.    I cannot camp anywhere in the City of Fremont and I cant expect volunteers or
 2   churches to help me because they can get arrested. I have nowhere to protect myself when I
 3   sleep. I am now worried that I can get arrested at any time.
 4
 5         I declare under penalty of perjury under the laws of the State of California and the United
 6   States that the foregoing is true and correct. Executed on the ____ day of February, 2025, in
 7   ____, California.
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                                              KENT EATON
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